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JTW: 12.15.20
SW & KYO/USA2020R00913



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *     CRIMINAL NO.          RDB-20-0457
                                                 *
          v.                                     *     (Conspiracy to Distribute and Possess
                                                 *     with Intent to Distribute Cocaine and
 GREGORY DANIEL JOHNSON,                         *     Cocaine Base, 21 U.S.C. § 846;
                                                 *     Forfeiture Allegations, 21 U.S.C. § 853)
                  Defendant                      *
                                                 *
                                                ***


                                        INFORMATION

                                         COUNT ONE
                                     (Narcotics Conspiracy)

         The United States Attorney for the District of Maryland charges that:

         Beginning at least in or about May 2020 and continuing through in or about June 14,

2020, in the District of Maryland, the District of Delaware, and elsewhere, the defendant,

                                 GREGORY DANIEL JOHNSON,

knowingly, intentionally and unlawfully combined, confederated, conspired and agreed with

others both known and unknown to distribute and possess with intent to distribute a quantity of a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance, and a quantity of a mixture or substance containing a detectable amount of cocaine base,

a Schedule II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1)

and (B)(1)(c).

21 U.S.C. § 846




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                                   FORFEITURE ALLEGATION

        The United States Attorney further finds:

        1.         Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, notice is hereby

given to the defendant that the United States will seek forfeiture as part of any sentence in

accordance with 21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c).

        2.         Specifically, upon conviction of the offenses set forth in Count One of this

Information, the defendant,

                                  GREGORY DANIEL JOHNSON,

shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a):

              a. any property constituting, or derived from, any proceeds obtained, directly or
                 indirectly, as the result of such offense; and,
              b. any property used, or intended to be used, in any manner or part, to commit, or to
                 facilitate the commission of, any such offense.

                                           Substitute Assets

        3.         If, as a result of any act or omission of any defendant, any property subject to

forfeiture:

              a.   cannot be located upon the exercise of due diligence;
              b.   has been transferred or sold to, or deposited with, a third person;
              c.   has been placed beyond the jurisdiction of the Court;
              d.   has been substantially diminished in value; or,
              e.   has been commingled with other property which cannot be subdivided without
                   difficulty,

the United States, pursuant to 21 U.S.C. § 853(p), shall be entitled to forfeiture of substitute

property up to the value of the forfeitable property described above.

21 U.S.C. § 853, 18 U.S.C. § 924(d), 28 U.S.C. § 2461

Date: December 17, 2020                                         _________________________
                                                            for Robert K. Hur
                                                                United States Attorney



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